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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   WAYMO LLC,                                                  No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                    ORDER REFERRING ISSUE
                                                                         13   OTTOMOTTO LLC; and OTTO                                     TO SPECIAL MASTER
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                              /

                                                                         16          As stated on the record and by agreement of both sides, this matter is hereby REFERRED
                                                                         17   to special master John Cooper to determine whether and to what extent, given the history of this
                                                                         18   action and both sides’ past conduct, defendants were required to earlier produce the Jacobs
                                                                         19   letter, resignation email, or settlement agreement. The special master shall take briefing and
                                                                         20   hear argument as he sees fit and submit a written report and recommendation on this issue by
                                                                         21   DECEMBER 15 AT NOON.
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                                                                         23          IT IS SO ORDERED.
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                                                                         25   Dated: December 4, 2017.
                                                                         26                                                            WILLIAM ALSUP
                                                                                                                                       UNITED STATES DISTRICT JUDGE
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